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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                     )      MDL No. 16-2740
PRODUCTS LIABILITY                              )
LITIGATION                                      )      SECTION: “H” (5)
                                                )
This document relates to:                       )
Barbara Earnest, 16-17144                       )


                             ORDER AND REASONS
      Before the Court is a Motion to Exclude Expert Testimony on Specific
Causation (Doc. 6162) filed by Defendants Sanofi-Aventis U.S. LLC and Sanofi
U.S. Services, Inc. (collectively, “Sanofi” or “Defendants”). The Court heard oral
argument on the Motion on July 25, 2019. For the following reasons, the
Motion is DENIED.


                                  BACKGROUND
      Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical      companies      that    manufactured       and/or    distributed     a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial of Plaintiff
Barbara Earnest (“Plaintiff”) is set to begin September 16, 2019. 2 In the
instant Motion, Defendants seek to exclude testimony on specific causation,


1Docetaxel is the generic version of Taxotere.
2 To the extent Defendants’ Motion relates to Plaintiff Tanya Francis, the Motion is moot,
given the Court’s dismissal of her case. To the extent the Motion relates to Plaintiff
Antoinette Durden, the Motion is denied for the same reasons provided herein.
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arguing that, under Daubert, Plaintiff’s experts—specifically, Dr. Curtis
Thompson and Dr. Antonella Tosti—do not present reliable evidence on the
issue.


                                   LEGAL STANDARD
         The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
         A witness who is qualified as an expert by knowledge, skill,
         experience, training, or education may testify in the form of an
         opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized
               knowledge will help the trier of fact to understand the
               evidence or to determine a fact in issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and
               methods; and
               (d) the expert has reliably applied the principles and
               methods to the facts of the case. 3

         The current version of Rule 702 reflects the Supreme Court’s decisions
in Daubert v. Merrell Dow Pharms., Inc. 4 and Kumho Tire Co. v. Carmichael. 5
The threshold inquiry in determining whether an individual may offer expert
testimony under Rule 702 is whether the individual has the requisite
qualifications. 6 After defining the permissible scope of the expert’s testimony,
a court next assesses whether the opinions are reliable and relevant. 7 As the

3 FED. R. EVID. 702.
4 509 U.S. 579 (1993).
5 526 U.S. 137 (1999).
6 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011); see also Wilson v.

Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow an expert
witness to testify if it finds that the witness is not qualified to testify in a particular field or
on a given subject.”).
7 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). See also Wellogix, Inc. v.

Accenture, L.L.P., 716 F.3d 867, 881–82 (5th Cir. 2013).

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“gatekeeper” of expert testimony, the trial court enjoys broad discretion in
determining admissibility. 8
       First, to assess reliability, a court considers whether the reasoning or
methodology underlying the expert’s testimony is valid. 9 The party offering the
testimony bears the burden of establishing its reliability by a preponderance
of the evidence. 10 Courts should exclude testimony based merely on subjective
belief or unsupported speculation.           11   Courts must, however, give proper
deference to the traditional adversary system and the role of the jury within
that system. 12 “Vigorous cross-examination, presentation of contrary evidence,
and careful instruction on the burden of proof are the traditional and
appropriate means of attacking shaky but admissible evidence.” 13 After
assessing reliability, a court evaluates relevance. 14 In doing so, a court must
determine whether the expert’s reasoning or methodology “fits” the facts of the
case and will thereby assist the trier of fact in understanding the evidence. 15
       Federal Rule of Evidence 703 further provides that an expert may offer
opinions based on otherwise inadmissible facts or data but only if (1) they are
of the kind reasonably relied upon by experts in the particular field; and (2)
the testimony’s probative value substantially outweighs its prejudicial effect. 16




8 Wellogix, 716 F.3d at 881.
9 See Daubert, 509 U.S. at 592–93.
10 See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).
11 See Daubert, 509 U.S. at 590.
12 See id. at 596.
13 Id.
14 Burst v. Shell Oil Co., 120 F. Supp. 3d 547, 551 (E.D. La. June 9, 2015).
15 Id.
16 FED. R. EVID. 703.


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                                 LAW AND ANALYSIS
       To prevail in a pharmaceutical products liability case, a plaintiff must
establish both general and specific causation through reliable expert
testimony. 17 “General causation is whether a substance is capable of causing a
particular injury or condition in the general population, while specific
causation is whether a substance caused a particular individual’s injury.” 18
The standard method for assessing specific causation is “a differential
diagnosis.” 19 “In performing a differential diagnosis, a physician begins by
‘ruling in’ all scientifically plausible causes of the plaintiff’s injury. The
physician then ‘rules out’ the least plausible causes of injury until the most
likely cause remains.” 20
       Plaintiff explains that Dr. Tosti is Plaintiff’s primary specific causation
expert and that her analysis relied on the work of other experts. Dr. Tosti is a
dermatologist who has treated many women for chemotherapy-induced hair
loss. In connection with this case, Dr. Tosti recommended that her colleague,
Dr. Thompson, conduct a “pathology analysis” for her to consider in forming
her opinion on Plaintiff Earnest. This analysis required Dr. Thompson to study
“punch biopsies,” or tissue samples, taken from Plaintiff’s scalp. Dr. Thompson
explained that as a pathologist, his job was to render “an objective read” on the
samples. To create these tissue samples, Plaintiff Earnest, a New Orleans
resident, visited a local dermatologist, Dr. Cole Claiborne. Dr. Claiborne took
two samples from Earnest’s scalp. Plaintiff’s counsel asked for one from the
most affected area of her scalp and one from the least affected area. Heeding


17 See Burst v. Shell Oil Co., No. 14-109, 2015 WL 3755953, at *3 (E.D. La. June 16, 2015);
In re Abilify (Aripiprazole) Prods. Liab. Litig., 299 F. Supp. 3d 1291, 1306 (N.D. Fla. 2018).
18 Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 351 (5th Cir.2007).
19 Wagoner, 813 F. Supp. 2d at 804.
20 Id. (internal citation and quotation omitted); Porte v. Illinois Cent. R.R. Co., No. 17-5657,
2018 WL 4404063, at *3 (E.D. La. Sept. 14, 2018).
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this instruction, Dr. Claiborne chose the precise locations for the samples. In
her briefing, Plaintiff nicely summarizes the division of labor between Dr.
Claiborne, Dr. Thompson, and Dr. Tosti: “[O]btaining the biopsies fell to Dr.
Claiborne as the local physician; pathology fell to the expertise of Dr.
Thompson; and the overall synthesizing analysis went to Dr. Tosti, who has
spent years studying all forms of alopecia.” 21


 I.     Defendants’ Arguments Regarding Dr. Claiborne
        Defendants first argue that the punch biopsies taken by Dr. Claiborne
are unreliable because they were litigation-driven and because Dr. Claiborne
did not follow standard practice in taking the biopsies. Defendants note that
Dr. Claiborne was not provided with clinical histories or other information
needed to make a differential diagnosis. Defendants emphasize testimony from
Dr. Claiborne, in which he agreed that outside the litigation context, what was
done with Earnest is something he would never do and was not consistent with
his clinical practice.
        Defendants’ arguments have no merit. Dr. Claiborne was not tasked with
conducting a differential diagnosis. Dr. Claiborne’s work was at the direction
of Dr. Tosti. As Dr. Claiborne testified, he was a “proceduralist in this
instance.” 22 Consistent with Dr. Tosti’s instructions, he provided tissue
samples for Dr. Thompson to analyze and the differential diagnosis was left to
Dr. Tosti. Under Rule 703, an expert can rely on the work of another expert
provided that the reliance is reasonable. 23 Defendants have failed to show that

21Doc. 7486 at 4.
22Id.
23 See Tajonera v. Black Elk Energy Offshore Operations, LLC, No. 13-366, 2016 WL
3180776, at *10 (E.D. La. June 7, 2016) (“Federal Rule of Evidence 703 allows experts to base
their opinions on facts or data that the expert has been made aware of or personally observed,
which includes the efforts of other experts, provided that experts in the particular field would

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Dr. Tosti unreasonably divided the labor here and jeopardized the reliability
of her work in doing so. Further, despite Defendants’ argument that Dr.
Claiborne’s biopsies were litigation-driven, this Court has been provided no
opinion that the biopsy process was faulty. Because Defendants have failed to
show that his work was unreliable, the Court rejects this argument.


II.     Defendants’ Arguments Regarding Dr. Thompson
        Defendants next argue that Dr. Thompson’s opinions are unreliable and
irrelevant for three reasons: (1) unreliable biopsies were the foundation of his
entire opinion; (2) his methodology failed to account for the specific facts and
circumstances of Plaintiff; and (3) his opinion does not answer the relevant
question of whether Taxotere, and not something else, caused Plaintiff’s
alleged permanent alopecia. The Court has already ruled that Dr. Claiborne’s
work was reliable, leaving only two arguments against Dr. Thompson.
        In arguing that Dr. Thompson’s methodology was flawed, Defendants re-
urge the argument they made with respect to Dr. Claiborne. Defendants take
issue with the fact that Dr. Thompson did not consider Plaintiff’s clinical
history before making a diagnosis. He knew only Plaintiff’s age, gender, and
the fact that she had chemotherapy treatment. This was, however, consistent
with his defined role in Dr. Tosti’s division of labor, and Dr. Thompson
explained as much in his deposition. He testified that his job was to provide an
“objective read” of the tissue samples and that pathologists “focus on getting
the information that’s important for each diagnosis and not beyond that.” 24
Notably, he said that a pathologist can be improperly “swayed” in a diagnosis
if he has “too much information.” 25 Further, Dr. Tosti conducted a differential

reasonably rely on those kinds of facts or data in forming an opinion on the subject.”) (internal
citations omitted).
24 Doc. 7486 at 9–10.
25 Id. at 10.
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analysis and considered Plaintiff’s clinical history and other pertinent
information. Thus, the work that Defendants complain was missing was
provided—it was provided by Dr. Tosti, not Dr. Thompson. Once again,
Defendants have failed to show that Dr. Tosti unreasonably divided the labor
here and jeopardized the reliability of her work in doing so.
         In arguing that Dr. Thompson’s opinions are unhelpful, Defendants
point to testimony from Dr. Thompson in which he said that he cannot offer an
opinion on which specific chemotherapy drug caused Plaintiff’s hair loss.
Defendants emphasize again that Dr. Thompson was not provided with
Plaintiff’s medical history or any information about her background. As the
Court has explained, Dr. Thompson conducted his work as part of Dr. Tosti’s
division of labor. He provided an “objective read” of the tissue samples and then
shared his findings with Dr. Tosti, who then conducted a differential diagnosis.
It was Dr. Tosti who considered Plaintiff’s medical history and other pertinent
information. Accordingly, the Court rejects Defendant’s argument that Dr.
Thompson’s opinions are unhelpful and therefore inadmissible. His work
served a purpose for Dr. Tosti, and this is permissible under Rule 703.


III.     Defendants’ Arguments Regarding Dr. Tosti
         Defendants raise several attacks against Dr. Tosti. They argue that her
opinions must be excluded for three reasons: (1) she relied on Dr. Thompson’s
unreliable punch biopsies; (2) she failed to reliably rule out other causes; and
(3) she relied on literature that is not sufficient to support her ultimate opinion.
The Court has already ruled that Dr. Thompson’s work was reliable, leaving
only two arguments against Dr. Tosti.
         Defendants argue that Dr. Tosti conducted a flawed differential
diagnosis. Defendants aver that Dr. Tosti did not start by “ruling in” all

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scientifically plausible causes of Plaintiff’s alopecia and she did not
appropriately “rule out” the least plausible causes, including diseases and
other medications. Instead, according to Defendants, Dr. Tosti took Dr.
Thompson’s conclusion that the pathology results were “consistent with
permanent alopecia after chemotherapy” and conducted physical examinations
to confirm this diagnosis.
         Defendants misrepresent Dr. Tosti’s report. Dr. Tosti does in fact provide
a differential diagnosis. She first explains that alopecia can be classified into
one of four categories based on shape and topographic distribution: (1) patchy
alopecia; (2) patterned alopecia; (3) marginal alopecia; and (4) diffuse
alopecia. 26 Making her reasons clear, she concludes that Earnest has diffuse
alopecia, and she states that this type of alopecia is seen in four cases: (1)
telogen effluvium; (2) diffuse alopecia areata; (3) anagen effluvium due to
chemotherapy; and (4) permanent alopecia after chemotherapy. 27
         Dr. Tosti then explains why she rules out three of these causes. Telogen
effluvium results in a positive “pull test,” and Dr. Tosti conducted a pull test
on Earnest that was negative. 28 Further, telogen effluvium is associated with
excessive shedding, and Earnest did not present with abnormal shedding. 29
Lastly, Earnest has a reduced number of hair follicles “which is not seen in
telogen effluvium where the number of follicles is normal.” 30 In ruling out
alopecia areata, she explains that “broken hairs” are a sign of the disease and
Earnest’s dermoscopy showed no broken hairs. 31 In addition, Earnest’s pull



26   Doc. 7486-19 at 7.
27   Id. at 7, 15.
28   Id. at 27.
29   Id.
30   Id.
31   Id. at 29.

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test was negative, supporting Dr. Tosti’s elimination of alopecia areata. 32
Lastly, to rule out anagen effluvium, Dr. Tosti against points to Earnest’s
negative pull test and notes that Earnest had chemotherapy several years ago,
allowing Dr. Tosti to eliminate this possible cause. 33
       Dr. Tosti further “rules in” and then “rules out” another possible cause,
“androgenetic alopecia,” even though this type of alopecia does not cause
“diffuse alopecia” like Earnest has.           34   However, Dr. Tosti explains that
endocrine therapy can cause androgenetic alopecia and Earnest has been on
Arimidex since 2011. 35 In ruling this out, Dr. Tosti provides several reasons,
including that the loss of axillary, public, and body hair is not consistent with
androgenetic alopecia. 36 Elsewhere in her report, Dr. Tosti stated that Earnest
had alopecia involving not only her scalp but also her eyebrows, eyelashes,
pubic, and axillary hair. 37
       Accordingly, despite what Defendants argue, Dr. Tosti does in fact “rule
in” and “rule out” the plausible causes of Earnest’s hair loss. 38 Defendants
argue that Dr. Tosti should have ruled in other chemotherapy drugs. However,
Dr. Tosti reliably opines that Taxotere/docetaxel is the specific chemotherapy
agent that caused Earnest’s hair loss. She explains that the other two drugs
Earnest took, doxorubicin and cyclophosphamide, have only sporadically been
reported to cause permanent alopecia. Regarding Taxotere/docetaxel, however,
she testified that it is essentially the “one chemotherapy drug that has been
reported by many authors to cause chemotherapy-persistent alopecia.” 39


32 Id.
33 Id.
34 Id. at 28.
35 Id. The Court presumes this is an endocrine therapy.
36 Id.
37 Id. at 14.
38 Dr. Tosti conducts a similar analysis with respect to Plaintiff Durden. See id. at 17–23.
39 Doc. 7486 at 17.
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Defendants suggest that a citation to literature has no place in a differential
diagnosis, but Defendants cite no cases saying as much. Defendants’ concerns
seem to be less about Dr. Tosti’s methodology and more about her conclusions.
Accordingly, the Court finds that Dr. Tosti’s differential diagnosis is reliable.
To the extent Defendants believe Dr. Tosti drew erroneous conclusions from
her work or her research, Defendants can explore this on cross-examination.


                                CONCLUSION
      For the foregoing reasons, IT IS ORDERED that Sanofi’s Motion to
Exclude Expert Testimony on Specific Causation (Doc. 6162) is DENIED.


      New Orleans, Louisiana this 23rd day of August, 2019.



                                        JANE TRICHE MILAZZO
                                        UNITED STATES DISTRICT JUDGE




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